                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 1 of 17 Page ID #:1




                                                1
                                                    Jamon R. Hicks, Esq. (SBN 232747)
                                                    Jamon@douglashickslaw.com
                                                2   Rachel P. Jacobs (SBN 349947)
                                                3   Rachel@douglashickslaw.com
                                                    Brennan L.G. Hughes, Esq, (SBN 349163)
                                                4
                                                    Brennan@douglashickslaw.com
                                                5   DOUGLAS / HICKS LAW, APC
                                                6
                                                    5120 W. Goldleaf Cir., Suite 140
                                                    Los Angeles, California 90056
                                                7   Telephone: (323) 655-6505
                                                8   Facsimile: (323) 927-1941
                                                9
                                                    Counsel for Plaintiff,
                                       10           YEAYO RUSSELL
                                       11

                                       12                                UNITED STATES DISTRICT COURT
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13                              CENTRAL DISTRICT OF CALIFORNIA
   LAW, APC




                                       14
                                                    YEAYO RUSSELL, an individual and          Case No.:
                                       15
                                                    as Guardian Ad Litem for minor D.F.
                                       16                                                     COMPLAINT FOR DAMAGES &
                                       17
                                                                  Plaintiff,                  DEMAND FOR JURY TRIAL
                                                           vs.
                                       18                                                     1. Fourth Amendment – Excessive
                                       19           COUNTY OF LOS ANGELES, a                     Force (42 U.S.C. § 1983)
                                                    public entity, and DOES 1-10 inclusive,   2. Municipal Liability –
                                       20                                                        Unconstitutional Custom, Practice
                                       21                                                        or Policy (42 U.S.C. § 1983)
                                                                  Defendants.                 3. Municipal Liability – Failure to
                                       22
                                                                                                 Properly Train (42 U.S.C. § 1983)
                                       23

                                       24

                                       25

                                       26

                                       27

                                       28



                                                                                      -1-
                                                                 COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 2 of 17 Page ID #:2




                                                1                            COMPLAINT FOR DAMAGES
                                                2      1. Plaintiff, YEAYO RUSSELL (hereinafter as “MS. RUSSELL”) and her
                                                3   minor son D.F. (collectively, the “PLAINTIFFS”) complain of Defendants
                                                4   COUNTY OF LOS ANGELES (“COUNTY”), a public entity, and DOES 1-10
                                                5   (collectively hereinafter as “DEFENDANTS”), inclusive, for damages and
                                                6   Demand for Jury Trial, and alleges as follows:
                                                7                                    INTRODUCTION
                                                8      2. This civil rights action seeks compensatory damages against
                                                9   DEFENDANTS and punitive damages from DOES 1-10 (of these 10 DOES,
                                       10           certain officers were sheriff deputies that were present at the July 14, 2022 traffic
                                       11           stop and participated in causing PLAINTIFFS’ injuries; those deputies will be
                                       12           hereinafter as “DOE DEPUTIES”) for violating various rights under the United
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13           States Constitution in connection with the Deputies’ unjustified assault and use of
   LAW, APC




                                       14           excessive force of MS. RUSSELL.
                                       15              3. In fact, the violence that erupted that day was instigated and brought on by
                                       16           the Los Angeles County Sheriff’s Department (hereinafter as “LASD”) deputies
                                       17           who violently struck MS. RUSSELL in the face multiple times as she held her
                                       18           newborn baby in her arms. During this time PLAINTIFFS were not any threat of
                                       19           harm to anyone – not to police officers, bystanders, or anyone else.
                                       20              4. At all times relevant DOE DEPUTIES were members of the LASD or other
                                       21           law enforcement agencies who were responding to COUNTY’s request for mutual
                                       22           aid, and were duly authorized employees of COUNTY, acting under color of law,
                                       23           within the course and scope of their respective duties as LASD officers, and with
                                       24           the complete authority and ratification of COUNTY.
                                       25              5. DOE DEPUTIES 1-5 are directly liable for PLAINTIFFS’ injuries under
                                       26           federal law pursuant to 42 U.S.C. § 1983.
                                       27

                                       28



                                                                                      -2-
                                                                 COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 3 of 17 Page ID #:3




                                                1      6. COUNTY and DOES 6-10 also proximately caused PLAINTIFFS’ injuries
                                                2   and are liable under federal law and under the principles set forth in Monell v.
                                                3   Department of Social Services, 436 U.S. 658 (1978).
                                                4      7. The policies and customs behind the use of excessive force and assaulting
                                                5   black women, such as PLAINTIFF RUSSELL, are fundamentally unconstitutional
                                                6   and constitute a menace of major proportions to the public.
                                                7      8. Accordingly, PLAINTIFFS seek, by way of this action, to hold those
                                                8   responsible for the unjustified assault and use of force, accountable.
                                                9                                        PARTIES
                                       10              9. At all relevant times, PLAINTIFF MS. RUSSELL, is a Black woman over
                                       11           the age of eighteen, and a resident of the County of Los Angeles, California. Her
                                       12           minor son D.F. was only weeks old at the time of this incident. At all times
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13           relevant, MS. RUSSELL, was pulled over by LASD when they attempted to
   LAW, APC




                                       14           remove the child from her custody. MS. RUSSELL was subsequently sucker-
                                       15           punched in the face multiple times causing her physical injuries, including, but not
                                       16           limited to, swelling, bruising, bleeding, and pain.
                                       17              10. At all relevant times, Defendant, COUNTY OF LOS ANGELES, is and was
                                       18           a duly organized public entity, form unknown, existing under the laws of the State
                                       19           of California. LASD is a local government entity and an agent of the COUNTY,
                                       20           and all actions of the LASD are the legal responsibility of the COUNTY.
                                       21              11. Furthermore, at all relevant times, COUNTY possessed the power and
                                       22           authority to adopt policies and prescribe rules, regulations and practices affecting
                                       23           the operation of the LASD and its tactics, methods, practices, customs, and
                                       24           usages. At all relevant times, COUNTY was the employer of DOES 1-10 who
                                       25           were COUNTY police officers, police officers’ supervisorial officers, and who
                                       26           were managerial supervisorial and policymaking employees of COUNTY LASD.
                                       27           On information and belief, at all relevant times, DOES 1-10 were residents of the
                                       28           County of Los Angeles, California.

                                                                                      -3-
                                                                 COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 4 of 17 Page ID #:4




                                                1      12. At all times relevant, COUNTY was responsible for assuring that the
                                                2   actions, omissions, policies, practices, and customs of the LASD and its
                                                3   employees and agents complied with the laws of the United Sates and the State of
                                                4   California.
                                                5      13. COUNTY is sued in its own right on the basis of its policies, customs, and
                                                6   practices that gave rise to PLAINTIFF’s federal rights claims.
                                                7      14. At all relevant times, Defendants DOES 1-10 were duly authorized
                                                8   employees and agents of COUNTY, who were acting under color of law within
                                                9   the course and scope of their respective duties as police officers and with the
                                       10           complete authority and ratification of their principal, COUNTY.
                                       11              15. At all relevant times, DOE DEPUTIES were duly appointed officers and/or
                                       12           employees of agents of COUNTY, subject to oversight and supervision by
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13           COUNTY’s elected and non-elected officials.
   LAW, APC




                                       14              16. In doing the acts and failing and omitting to act as hereinafter described,
                                       15           DOE DEPUTIES were acting on the implied and actual permission of COUNTY.
                                       16              17. At all times mentioned herein, each and every COUNTY defendant was the
                                       17           agent of each and every other COUNTY defendant and had the legal duty to
                                       18           oversee and supervise the hiring, conduct and employment of each and every
                                       19           COUNTY defendant.
                                       20              18. PLAINTIFFS are informed and believe and thereon allege that each of the
                                       21           Defendants designated as a DOE are intentionally and negligently responsible in
                                       22           some manner for the events and happenings herein referred to, and thereby
                                       23           proximately caused injuries and damages as herein alleged. The true names and
                                       24           capacities of DOES 1 through 10 (hereinafter as “DOES”), inclusive, and each of
                                       25           them, are not now known to PLAINTIFF who, therefore, sues Defendants by such
                                       26           fictitious names. PLAINTIFF will seek leave to amend this Complaint to show
                                       27           their true names and capacities when same have been ascertained.
                                       28



                                                                                       -4-
                                                                  COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 5 of 17 Page ID #:5




                                                1         19. All DEFENDANTS who are natural persons, including DOES 1-10, are
                                                2   sued individually and/or in his/her official capacity as officers, sergeants, captains,
                                                3   commanders, supervisors, and/or civilian employees, agents, policy makers, and
                                                4   representatives for COUNTY.
                                                5                               JURISDICTION AND VENUE
                                                6         20. Jurisdiction is conferred upon this Court by 28 U.S.C §§1331and 1334 1367
                                                7   and arises under 42 U.S.C. §§ 1983, 1985, 1986, 1988 and the Fourth and
                                                8   Fourteenth Amendments of the United State Constitution.
                                                9         21. Venue is proper in the Western Division of the Central District of California
                                       10           pursuant to 28 U.S.C. § 1391 because the events and conduct giving rise to
                                       11           PLAINTIFF’s claims all occurred in Los Angeles County, in City of Palmdale.
                                       12                                  FACTS COMMON TO ALL COUNTS
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13                 22. PLAINTIFFS realleges each and every allegation above with the same force
   LAW, APC




                                       14           and effect as if fully set forth herein.
                                       15                 23. On or about July 14, 2022, PLAINTIFFS were passengers in a car when it
                                       16           was pulled over by DEFENDANTS. Prior to being stopped, MS. RUSSELL was
                                       17           breastfeeding her newborn child. Although the reason of the stop was a traffic
                                       18           infraction, DEFENDANTS began to harass and threaten all the passengers in the
                                       19           car. This included the DEFENDANTS making all of the passengers exit the
                                       20           vehicle.
                                       21                 24. DEFENDANTS moved MS. RUSSELL to the back of the patrol car.
                                       22           DEFENDANT DEPUTIES continued to harass MS. RUSSELL. DEFENDANTS
                                       23           threatened to take MS. RUSSELL’S newborn child away from her. In fear of
                                       24           losing her newborn child, MS. RUSSELL began to scream, cry and beg for the
                                       25           DEFENDANTS to allow her sister to take her newborn child away from the
                                       26           premises, as she was just minutes away from the location.
                                       27           ///
                                       28           ///

                                                                                        -5-
                                                                   COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 6 of 17 Page ID #:6




                                                1      25. Despite MS. RUSSELL’S pleas, DEFENDANTS became more aggressive.
                                                2   At one point, DEFENDANT DOES 1 started aggressively grabbing and pulling
                                                3   PLAINTIFF D.F.’s leg. PLAINTIFF D.F. immediately began screaming and
                                                4   yelling. At this moment, MS. RUSSELL began yelling and shouted, “you will have
                                                5   to shoot me to take my baby!” Simultaneously, MS. RUSSELL saw DEFENDANT
                                                6   DEPUTY 2 put her hand over her gun in a threatening manner.
                                                7      26. While MS. RUSSELL continued to hold and protect her newborn child,
                                                8   DEFENDANT DEPUTY 1 punched her two times in the face causing her great
                                                9   pain. While this ensued, PLAINTIFF D.F. began hanging upside down as
                                       10           DEFENDANT DEPUTY 1 pulled his leg. MS. RUSSELL started yelling “my
                                       11           baby’s leg, my baby’s leg,” in fear that DEFENDANT DEPUTY 1 was going to
                                       12           break D.F.’s leg. She watched in horror as DEFENDANTS carried her newborn
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13           child away from her. The DEFENDANTS then prevented MS. RUSSELL’S sister
   LAW, APC




                                       14           from recording this horrific scene on her cellular device.
                                       15              27. MS. RUSSELL was then arrested. While in the car to the police station,
                                       16           MS. RUSSELL began crying out and begging to see her newborn child.
                                       17           DEFENDANTS never reassured her where her newborn child was located.
                                       18           DEFENDANTS also denied MS. RUSSELL medical treatment, even after repeated
                                       19           requests. Subsequently, MS. RUSSELL spent more than four (4) days in jail.
                                       20              28. As a direct and proximate result of Defendants’ actions and omissions as set
                                       21           forth above, MS. RUSSELL sustained the following injuries and damages, past
                                       22           and future, among others:
                                       23                     a. MS. RUSSELL suffered physical injuries requiring medical
                                       24                         treatment, including, but not limited to, bruising hematomas,
                                       25                         contusions, numbness, stiffness, swelling, skin discoloration,
                                       26                         disorientation, headaches, and pain and discomfort.
                                       27                     b. PLAINTIFFS suffered from their violation of their constitutional
                                       28                         rights;

                                                                                      -6-
                                                                 COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 7 of 17 Page ID #:7




                                                1              c. Emotional trauma from separation from her newborn child;
                                                2              d. Medical expenses;
                                                3              e. Pain and suffering and emotional distress, including, but not limited
                                                4                  to, trauma, grief, fright, anger, fear, nervousness around law
                                                5                  enforcement officers, trepidation, shame and humiliation, difficulty
                                                6                  sleeping, headaches, anxiety, nightmares and are unable to engage in
                                                7                  typical day-to day activities as a result of fear of leaving their home;
                                                8              f. All damages, costs, and attorney’s fees and penalties recoverable
                                                9                  under 42 U.S.C. §§ 1983, 1988, and as otherwise allowed under
                                       10                          California and United States statues, codes, and common law; and
                                       11                      g. In any amounts according to proof and in excess of the minimum
                                       12                          jurisdictional amount of this Court as well as for the use of money,
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13                          pre and post judgment interest, and such other damages as deemed
   LAW, APC




                                       14                          just and proper.
                                       15              29. This incident was particularly traumatic for PLAINTIFFS, PLAINTIFFS
                                       16           still suffer from extreme emotional distress, anxiety, and feelings of helplessness.
                                       17                                         MONELL VIOLATIONS
                                       18              30. PLAINTIFFS reallege each and every allegation above with the same force
                                       19           and effect as if fully set forth herein.
                                       20              31. Based upon the principals set forth in Monell v. New York City Department
                                       21           of Social Services, 436 U.S. 658 (1978), COUNTY is liable for all injuries
                                       22           sustained by PLAINTIFFS as set forth herein. COUNTY bears liability because its
                                       23           policies, practices and/or customs were a cause of PLAINTIFFS’ injuries, and/or
                                       24           because COUNTY ratified the unlawful actions of its employees that caused
                                       25           PLAINTIFFS’ injuries. COUNTY and its supervisory officials, maintained or
                                       26           permitted one or more of the following official policies, customs or practices
                                       27           which displayed reckless and deliberate indifference to the constitutional rights of
                                       28           persons such as PLAINTIFFS, and were a direct cause of PLAINTIFFS’ damages:

                                                                                       -7-
                                                                  COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 8 of 17 Page ID #:8




                                                1            a. By employing and retaining as police officers and other personnel,
                                                2               including DEFENDANTS DOE DEPUTIES and DOES 1-10, who
                                                3               Defendants COUNTY and DOE SUPERVISORS at all times
                                                4               material herein knew or reasonably should have known had
                                                5               dangerous propensities for abusing their authority by using excessive
                                                6               force, and for mistreating citizens by failing to follow written Police
                                                7               Department’s policies of COUNTY, including the use of excessive
                                                8               force and reckless disregard for human life and safety;
                                                9            b. By inadequately disciplining COUNTY police officers, and other
                                       10                       personnel, including Defendants DOE DEPUTIES and DOES 1-10,
                                       11                       who DEFENDANTS COUNTY and DOE SUPERVISORS each
                                       12                       knew or in the exercise of reasonable care should have known had
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13                       the aforementioned propensities and character traits including the
   LAW, APC




                                       14                       propensity for violence, reckless disregard for human life and safety,
                                       15                       and the use of excessive force.
                                       16                    c. By maintaining grossly inadequate procedures for reporting,
                                       17                       supervising, investigating, reviewing, disciplining and controlling the
                                       18                       intentional misconduct by DOE OFFICERS, and DOES 1-10, who
                                       19                       are COUNTY’s employees and sheriff deputies;
                                       20                    d. The use of force during the July 14, 2022 arrest was ratified by
                                       21                       COUNTY and LASD when it failed to discipline or retrain
                                       22                       COUNTY sheriff deputies including DOE DEPUTIES and DOES 1-
                                       23                       10, for their conduct; and
                                       24                    e. The above-mentioned ratification promoted the belief that they can
                                       25                       violate the rights of persons, such as PLAINTIFFS, with impunity,
                                       26                       and that such conduct will not adversely affect their opportunities for
                                       27                       promotion and other employment benefits.
                                       28           ///

                                                                                    -8-
                                                               COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 9 of 17 Page ID #:9




                                                1                              FIRST CLAIM FOR RELIEF
                                                2   Fourth Amendment Unreasonable Search and Seizure – Excessive Force and
                                                3                                     Wrongful Arrest
                                                4                                        (42 U.S.C. § 1983)
                                                5             (By Plaintiffs against County of Los Angeles and Does 1-10)
                                                6      32. PLAINTIFFS reallege each and every allegation of this Complaint with the
                                                7   same force and effect as if fully set forth herein.
                                                8      33. Defendants’ conduct, described above, violated MS. RUSSELL’s rights to
                                                9   be free from unreasonable and excessive or arbitrary force without reasonable or
                                       10           probable cause under the Fourth Amendment to the United States Constitution.
                                       11              34. Defendants sucker punched MS. RUSSELL in the face while she was
                                       12           holding her newborn infant in her arms.
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13              35. Defendants’ conduct was excessive and unreasonable as MS. RUSSELL
   LAW, APC




                                       14           posed no immediate threat of death or serious bodily injury to any deputy or
                                       15           anyone at the time of the assault.
                                       16              36. Further, DOE DEPUTIES and DOES 1-10, conduct of punching MS.
                                       17           RUSSELL in the face and other excessive use of force violated their training, and
                                       18           police officer standard training, as they acted indiscriminately and inconsistent
                                       19           with policies and procedures striking those who presented no imminent threat of
                                       20           harm to an officer or others, or who was not violently resisting arrest.
                                       21              37. In violation of the Fourth Amendment, defendants used unreasonable and
                                       22           excessive force based on the potentially unlawful acts of others, not based on a
                                       23           determination of individual conduct justifying such force.
                                       24              38. DOES 1-10, who are supervisors, are liable for their direct actions as
                                       25           supervisors which caused the deprivation of MS. RUSSELL’s constitutional rights.
                                       26              39. On information and belief, DOE DEPUTIES and other DOES 1-10
                                       27           involved were not disciplined, reprimanded, retrained, suspended, or otherwise
                                       28           penalized in connection with MS. RUSSELL’s injuries.

                                                                                      -9-
                                                                 COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 10 of 17 Page ID #:10




                                                1          40. On information and belief, COUNTY failed to properly and adequately
                                                2    train DOE DEPUTIES and DOES 1-10, including but not limited to, with regard to
                                                3    the use of physical force, and less than lethal force on individuals peacefully
                                                4    protesting and/or members of the press documenting the protests.
                                                5          41. Defendants COUNTY and DOES DEFENDANTS are liable pursuant to
                                                6    Monell because it maintained, condoned and/or permitted a policy, custom and/or
                                                7    practice of conscious disregard of and reckless indifference to Constitutional rights
                                                8    which was a moving force in the violation of MS. RUSSELL’S rights and/or
                                                9    because it ratified the unconstitutional conduct of its employees.
                                       10                  42. Defendants COUNTY and DOES DEFENDANTS were deliberately
                                       11            indifferent to the obvious consequences of its failure to train its deputies
                                       12            adequately.
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13                  43. The failure of COUNTY to provide adequate training caused the
   LAW, APC




                                       14            deprivation of PLAINTIFFS’ rights by Defendants DOES 1-10; that is Defendants’
                                       15            failure to train is so closely related to the deprivation of PLAINTIFFS’ rights as to
                                       16            be the moving force that caused the ultimate injury.
                                       17                  44. As a direct and proximate cause of Defendants’ actions and omissions, as
                                       18            set forth above, Defendants are liable for PLAINTIFFS’ injuries, either because
                                       19            they were integral participants in the excessive force, or because they failed to
                                       20            intervene to prevent these violations despite having the opportunity to intervene.
                                       21            As a result of their conduct, PLAINTIFFS suffered damages, including, but not
                                       22            limited to, extreme mental anguish and physical pain and suffering, loss of
                                       23            enjoyment of life, and those set forth in the paragraphs above, and other pecuniary
                                       24            losses not yet ascertained.
                                       25                  45. The aforementioned customs and practices of COUNTY were implemented
                                       26            and/or maintained with deliberate indifference to individuals’ safety and rights.
                                       27            ///
                                       28            ///

                                                                                        -10-
                                                                    COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 11 of 17 Page ID #:11




                                                1          46. Defendants COUNTY and DOES 1-10, together with various other
                                                2    officials, whether named or unnamed, had either actual or constructive knowledge
                                                3    of the deficient policies, practices and customs alleged in the paragraphs above.
                                                4    Despite having knowledge as stated above, these Defendants condoned, tolerated
                                                5    and through actions and inactions thereby ratified such policies. Said Defendants
                                                6    also acted with deliberate indifference to the foreseeable effects and consequences
                                                7    of these policies with respect to the constitutional rights of PLAINTIFFS, and
                                                8    other individuals similarly situation.
                                                9          47. By perpetuating, sanctioning, tolerating, and ratifying the outrageous
                                       10            conduct and other wrongful acts, Defendants COUNTY and DOES 1-10 acted with
                                       11            an intentional, reckless, and callous disregard toward PLAINTIFFS, and of the
                                       12            constitutional as well as human rights of PLAINTIFFS. Defendants and each of
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13            them, actions were willful, wanton, oppressive, malicious, fraudulent, and
   LAW, APC




                                       14            extremely offensive and unconscionable to any person of normal sensibilities.
                                       15                  48. PLAINTIFFS are informed and believe and thereon allege that the acts of
                                       16            the DOE DEPUTIES and DOES 1-10; were willful, malicious, intentional, reckless
                                       17            and/or were performed in willful and conscious disregard of PLAINTIFFS’ rights,
                                       18            justifying the awarding of punitive and exemplary damages against the individual
                                       19            Defendants in an amount to be determined at the time of trial.
                                       20                  49. Accordingly, DEFENDANTS are each liable to PLAINTIFFS for
                                       21            compensatory damages and individual Defendants are liable for punitive damages,
                                       22            under 42 U.S.C. § 1983. MS. RUSSELL seeks attorney fees under this claim
                                       23            pursuant to 42 U.S.C. § 1988.
                                       24            ///
                                       25            ///
                                       26            ///
                                       27            ///
                                       28            ///

                                                                                        -11-
                                                                    COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 12 of 17 Page ID #:12




                                                1                              THIRD CLAIM FOR RELIEF
                                                2          Municipal Liability for Unconstitutional Custom, Practice or Policy
                                                3                                      (42 U.S.C. § 1983)
                                                4              (By Plaintiffs against County of Los Angeles and Does 1-10)
                                                5       50. PLAINTIFFS reallege each and every allegation of this Complaint with the
                                                6    same force and effect as if fully set forth herein.
                                                7       51.    On and for some time prior to July 14, 2022 (and continuing to
                                                8    present date) Defendants deprived PLAINTIFFS of rights and liberties secured to
                                                9    her by the Fourth and Fourteenth Amendments to the United States Constitution, in
                                       10            that defendants and their supervising and managerial employees, agents, and
                                       11            representatives, acting with gross negligence and with reckless and deliberate
                                       12            indifference to the rights and liberties of the public in general, and of
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13            PLAINTIFFS, and of persons in his class, situation and comparable position in
   LAW, APC




                                       14            particular, knowingly maintained, enforced and applied an official recognized
                                       15            custom, policy and practice of those set forth in the paragraphs above, and:
                                       16                       a. Employing and retaining as sheriff deputies and other personnel who,
                                       17                          at all times material herein, knew or reasonably should have known
                                       18                          had dangerous propensities for abusing their authority and for
                                       19                          mistreating citizens by failing to follow written COUNTY Sheriff
                                       20                          Department policies;
                                       21                       b. Of inadequately supervising, training, controlling, assigning, and
                                       22                          disciplining COUNTY police officers, and other personnel, who
                                       23                          COUNTY knew or in the exercise of reasonable care should have
                                       24                          known had the aforementioned propensities and character traits;
                                       25                       c. By failing to adequately train officers, including DOES 1-10, and
                                       26                          failing to institute appropriate policies, regarding the use of excessive
                                       27                          force;
                                       28



                                                                                      -12-
                                                                  COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 13 of 17 Page ID #:13




                                                1                 d. By having and maintaining an unconstitutional policy, custom, and
                                                2                    practice of using excessive force, deployment of a weapon, which
                                                3                    also is demonstrated by inadequate training regarding these subjects.
                                                4                    These policies, customs, and practices were done with a deliberate
                                                5                    indifference to individuals’ safety and rights; and
                                                6                 e. Of completely inadequately training COUNTY sheriff deputies and
                                                7                    DOES 1-10, with respect to maintain civilized order during street
                                                8                    protests.
                                                9          52. By reason of the aforementioned policies and practices of COUNTY and
                                       10            DOES 1-10, PLAINTIFFS were severely injured and subjected to pain and
                                       11            suffering, and loss of enjoyment of life.
                                       12                  53. Defendants COUNTY and DOES 1-10, together with various other
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13            officials, whether named or unnamed, had either actual or constructive knowledge
   LAW, APC




                                       14            of the deficient policies, practices and customs alleged in the paragraphs above.
                                       15            Despite having knowledge as stated above, these defendants condoned, tolerated
                                       16            and through actions and inactions thereby ratified such policies. Said defendants
                                       17            also acted with deliberate indifference to the foreseeable effects and consequences
                                       18            of these policies with respect to the constitutional rights of PLAINTIFFS and other
                                       19            individuals similarly situated.
                                       20                  54. By perpetrating, sanctioning, tolerating, and ratifying the outrageous
                                       21            conduct and other wrongful acts, Defendants COUNTY and DOES 1-10, acted
                                       22            with an intentional, reckless, and callous disregard for the constitutional rights of
                                       23            PLAINTIFFS Defendants COUNTY and DOES 1-10, actions were willful,
                                       24            wanton, oppressive, malicious, fraudulent, and extremely offensive and
                                       25            unconscionable to any person of normal sensibilities.
                                       26            ///
                                       27            ///
                                       28            ///

                                                                                        -13-
                                                                    COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 14 of 17 Page ID #:14




                                                1      55. Furthermore, the policies, practices, and customs implemented and
                                                2    maintained and still tolerated by COUNTY and DOES 1-10, were affirmatively
                                                3    linked to and were a significantly influential force behind the injuries of
                                                4    PLAINTIFFS.
                                                5       53. By reason of the acts and omissions of Defendants COUNTY and DOES 1-
                                                6    10, PLAINTIFFS incurred damages, including but not limited to, medical
                                                7    expenses, loss of enjoyment of life and earning capacity.
                                                8       54. By reason of the acts and omissions of COUNTY and DOES 1-10,
                                                9    PLAINTIFFS have suffered loss of love, companionship, affection, comfort, care,
                                       10            society, and future support.
                                       11               55. Accordingly, Defendants COUNTY and DOES 1-10, each are liable to
                                       12            PLAINTIFFS for compensatory damages under 42 U.S.C. § 1983.
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13               56. PLAINTIFFS also seek attorney fees under this claim.
   LAW, APC




                                       14                                     FOURTH CLAIM FOR RELIEF
                                       15                             Municipal Liability – Failure to Properly Train
                                       16                                              (42 U.S.C. § 1983)
                                       17                      (By Plaintiffs against County of Los Angeles and Does 1-10)
                                       18               57. PLAINTIFFS reallege each and every allegation of this Complaint with the
                                       19            same force and effect as if fully set forth herein.
                                       20               58. While acting under the color of state law and within the course and scope of
                                       21            their employment as police officers for COUNTY sheriff department, DOES 1-10
                                       22            used a fists as a weapon, depriving PLAINTIFFS of their rights and liberties
                                       23            secured to her by the Fourth Amendment, including but not limited to freedom
                                       24            from excessive use of force.
                                       25               59. The training policies of COUNTY sheriff department were not adequate to
                                       26            train its police officers, including but not limited to those set forth in the
                                       27            paragraphs above, and especially with regards to using physical force. As a result,
                                       28            COUNTY sheriff deputies, including DOES 1-10, are not able to handle the usual

                                                                                      -14-
                                                                  COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 15 of 17 Page ID #:15




                                                1    and recurring situations with which they must deal, including contacting unarmed
                                                2    individuals. These inadequate training policies existed prior to the date of this
                                                3    incident and continue to this day.
                                                4       60. COUNTY sheriff department was deliberately indifferent to the known or
                                                5    obvious consequences of its failure to train its deputies, including DOES 1-10,
                                                6    adequately with regards to using unnecessary, unreasonable and unlawful force.
                                                7    This inadequate training includes failing to teach deputies to give a verbal warning
                                                8    when feasible prior to using physical force.
                                                9       61. COUNTY and DOES 1-10 knew that failure to implement some sort of
                                       10            training with regard to their deputies’ dealing with unarmed suspects would result
                                       11            in continuing to have numerous unreasonable deputies involved excessive force
                                       12            claims involving unarmed individuals annually.
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13               62.    The failure of COUNTY sheriff department to provide adequate
   LAW, APC




                                       14            training with regards using physical force, caused the deprivation of the
                                       15            PLAINTIFFS’ rights by DOES 1-10. Defendants’ failure to train is so closely
                                       16            related to the deprivation of the PLAINTIFFS’ rights as to be the moving force that
                                       17            caused the ultimate injury.
                                       18               63. By failing to provide adequate training to COUNTY’s sheriff deputies,
                                       19            including DOES 1-10, Defendants acted with an intentional, reckless, and callous
                                       20            disregard for PLAINTIFFS’ constitutional rights. Defendants’ actions were willful,
                                       21            wanton, oppressive, malicious, fraudulent, and extremely offensive and
                                       22            unconscionable to any person of normal sensibilities.
                                       23               64. By reason of the aforementioned acts and omissions of Defendant DOES 1-
                                       24            10, PLAINTIFF RUSSELL was caused to incur medical expenses, loss of
                                       25            enjoyment of life earning capacity and other damages as will be proven at trial.
                                       26               65. Accordingly, Defendants COUNTY and DOES 1-10, each are liable to
                                       27            PLAINTIFF for compensatory damages under 42 U.S.C. § 1983.
                                       28               66. PLAINTIFFS seek statutory attorney fees under this claim.

                                                                                      -15-
                                                                  COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 16 of 17 Page ID #:16




                                                1                                  PRAYER FOR RELIEF
                                                2          WHEREFORE, PLAINTIFFS pray for judgment against Defendants and
                                                3    each of them, as follows:
                                                4       1. For compensatory (or general) and non-economic damages, in an amount to
                                                5          be proven at trial;
                                                6       2. For special damages according to proof;
                                                7       3. For punitive damages allowed by law against the individual, non-
                                                8    government entity, Defendants in an amount to be proven at trial;
                                                9       4. For equitable relief;
                                       10               5. For prejudgment and post judgement interest as permitted by law;
                                       11               6. For reasonable costs of this suit incurred herein
                                       12               7. For attorneys’ fees as allowed by law;
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13               8. For civil penalties as allowed by law;
   LAW, APC




                                       14               9. Costs of suit; and
                                       15               10. For such further other relief as the Court may deem just, proper and
                                       16            appropriate.
                                       17

                                       18            Dated: July 24, 2023
                                       19
                                                                                            DOUGLAS / HICKS LAW, APC

                                       20

                                       21                                            By:    ____/s/ Jamon R. Hicks______________
                                                                                                  JAMON R. HICKS
                                       22
                                                                                                  Attorneys for PLAINTIFFS
                                       23

                                       24

                                       25

                                       26

                                       27

                                       28



                                                                                        -16-
                                                                    COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
                                                    Case 2:23-cv-05979-FMO-SK Document 1 Filed 07/24/23 Page 17 of 17 Page ID #:17




                                                1

                                                2
                                                                             DEMAND FOR JURY TRIAL

                                                3

                                                4
                                                           PLAINTIFF hereby demands a trial by jury in this action.

                                                5

                                                6
                                                     Dated: July 24, 2023
                                                                                          DOUGLAS / HICKS LAW, APC
                                                7

                                                8

                                                9

                                       10                                           By: _____/s/ Jamon R. Hicks _____________
                                       11
                                                                                             JAMON R. HICKS
                                                                                             Attorneys for PLAINTIFF,
                                       12
             5120 W. Goldleaf Cir., Suite 140
              Los Angeles, California 90056
DOUGLAS / HICKS




                                       13
   LAW, APC




                                       14

                                       15

                                       16

                                       17

                                       18

                                       19

                                       20

                                       21

                                       22

                                       23

                                       24

                                       25

                                       26

                                       27

                                       28



                                                                                     -17-
                                                                 COMPLAINT FOR DAMAGES & DEMAND FOR JURY TRIAL
